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 7                                    D ISTRIC T O F N EVA D A

 8 UNITED STATESOFAM ERICA,                        )
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 9                      Plaintiff,                 )
                                                   )
10         v.                                      )            2:10-CR-284-RLH (PAL)
                                                   )
11 JEFFREY THOM PSON,                              )
                                                   )
12                      Defendant.                 )
13                                   O R DER O F FO R FEIT UR E

14       ThisCoul'tfoundonJuly14,2011,thatJEFFREY THOM PSON shallpayacriminalforfeiture

15 moneyjudgmentof$1,626,907.00inunitedStatescurrency,pursuanttoFed.R,Crim,P.32.2(b)(1)
16 and(2);Title18,UnitedStatesCode,Section981(a)(1)(C)andTitle28,UnitedStatesCode,Section
17 2461(c);Title 18,United StatesCode,Section 982(a)(2)(A);andTitle21,United StatesCode,
18 Section853û$.Docket#95,#96,//97.
19       THEREFO RE,IT IS H ER EBY ORD ER ED,AD JU D G ED ,AN D DECREED thattheU nited

20 Statesrecoverfrom JEFFREY THOMPSON acriminalforfeituremoneyjudgmentintheamount
2l of$1,626,907.00inUnitedStatesCurrencypursuanttoFed.R.Crim.P.32.2(b)(4)(A)and(B);Tit1e
22 18,United StatesCode,Section 981(a)(1)(C)andTitle28,United StatesCode,Section2461(c);
23 Titlel8,UnitedStatesCode,Section982(a)(2)(A)'
                                               ,andTitle21,UnitedStatesCode,Section853(19.                          .



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